                           UNITED STATES DISTRICT COURT                            Motion GRANTED
                       FOR THE MIDDLE DISTRICT OF TENNESSEE                        for extension to
                                NASHVILLE DIVISION                                 2/10/14.

UNITED STATES OF AMERICA                      )
                                              )
                                              )
       v.                                      )                      NO. 3:13-cr-162
                                              )                       JUDGE TRAUGER
                                              )
BILLY MICHAEL FOSTER                          )

 MOTION FOR EXTENSION OF TIME FOR FILING RESPONSES TO DEFENDANT
  BILLY MICHAEL FOSTER’S MOTION TO DISMISS, MOTION FOR A BILL OF
    PARTICULARS, MOTION FOR SEVERANCE, AND MOTION FOR EARLY
         DISCLOSURE AND PRODUCTION OF JENCKS MATERIAL,
             AGENT NOTES, AND BRADY/GIGLIO MATERIAL

       COMES NOW the United States of America, by and through Assistant United States

Attorney Scarlett Singleton Nokes, in response to Defendant Billy Michael Foster=s Motion to

Dismiss (Docket Nos. 46 and 47), Motion for a Bill of Particulars (Docket Nos. 48 and 49), Motion

for Severance (Docket Nos. 50 and 51), and Motion for Early Disclosure and Production of Jencks

Material, Agent Notes, and Brady/Giglio Material (Docket No. 52), all dated December 13, 2013.

       1.      At the December 10, 2013, status conference the Court established pretrial

deadlines (Docket No. 42). The Court ordered deadline for the Government=s responses to

Foster’s pretrial motions is January 10, 2014.

       2.      The United States is seeking an additional 30 days to respond to the Defendant

Foster’s motions.

       3.      Foster=s motions raise several legal issues and will take significant time to research.

The United States is seeking additional time in order to fully address the issues raised in Foster’s

motions.

       4.      The United States has been advised by Foster’s counsel that Foster does not object




  Case 3:13-cr-00162        Document 62            Filed 01/13/14   Page 1 of 1 PageID #: 170
